Case 9:15-cr-80057-RLR Document 259-1 Entered on FLSD Docket 07/28/2016 Page 1 of 2




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA

  CASE NO. 15-80057-CR-ROSENBERG/HOPKINS(s)




  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  JANIO VICO, and
  JHARILDAN VICO,

         Defendants.



                                     RELEASE OF LIS PENDENS

  GRANTEE: JANIO VICO

  TO:    ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER ANY OF THE
         DEFENDANTS AND/OR GRANTEE any interest in the real property described herein
         under.

         Notice is hereby given of a certain lis pendens recorded in the Palm Beach County land records

  on September 21, 2015, in Official Records Book 27819, Page 1285, giving notice of the pendency

  of a forfeiture action in the United States District Court for the Southern District of Florida entitled

  United States of America v. Janio Vico and Jharildan Vico, Case No. 15-80057-CR-

  Rosenberg/Hopkins(s), in which this lis pendens is hereby release and discharged.

         The property affected by this release is more particularly described as: All that lot or parcel

  of land, together with its buildings, appurtenances, improvements, fixtures, attachments and
Case 9:15-cr-80057-RLR Document 259-1 Entered on FLSD Docket 07/28/2016 Page 2 of 2




  easements, located at 669 Pacific Grove Drive, Unit #3, West Palm Beach, Palm Beach County,

  Florida, 33401, and more particularly described as:

                 Unit No. 3, Building 1 lA, of CITYSIDE, a Condominium, according
                 to the Declaration of Condominium thereof, as recorded in Official
                 Records Book 18734, Page 669, as amended in Official Records Book
                 18734, Page 866 and Official Records Book 18734, Page 900, as
                 amended, all of the Public Records of Palm Beach County, Florida.
                                                        #
         Dated at West Palm Beach, Florida this   1"6       day of July, 2016.


                                           Respectfully submitted,

                                           WIFREDO A. FERRER
                                           ~   EDSTA~ESATTORNEY

                                      BY: ~                              ~
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